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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,
                                                                 Case Number 03-20019-BC-02
v.                                                               Honorable David M. Lawson

DEBORAH LUKASIK,

                  Defendant.
______________________________________/

        ORDER DENYING EMERGENCY MOTION TO EXTEND DEFENDANT’S
                REPORT DATE TO DESIGNATED INSTITUTION

        Before the Court is the defendant’s motion to delay the execution of sentence that was

imposed on June 3, 2005. This Court imposed a custodial sentence of five months to be followed

by three years of supervised release, which includes five months of home confinement, following

the defendant’s guilty plea in this case. The Court permitted the defendant to report to the institution

designated by the Bureau of Prisons of her own accord.

        On two previous occasions, this Court has granted requests by the defendant to delay her

report date so that she could be present for the birth of her first grandchild. The government has

acquiesced in these delays. The defendant now reports that her grandchild was born on October 14,

2005. She is scheduled to report to FMC Lexington, Kentucky on October 30, 2005, but seeks an

extension of thirty days beyond that date. The defendant has not stated that the birth of the child was

accompanied by any complications or that the health of the child or its mother is in jeopardy. The

government opposes the motion.

        The Court believes that there is no legal, equitable or humanitarian reason to justify further

delay of the execution of sentence. In fact, it appears that the defendant’s interests – that is, assisting
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her daughter, spending “quality time” with her grandchild and developing a meaningful relationship

with the child – will be better served by serving the custodial portion of her sentence and putting

behind her the period of separation sooner rather than later.

       Accordingly, it is ORDERED that the defendant’s emergency motion to extend defendant’s

report date to designated institution [dkt #120] is DENIED.



Dated: October 24, 2005                                 s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on October 24, 2005.

                                                           s/Tracy J. Jacobs
                                                           TRACY A. JACOBS




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